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PagelD.83 Page 1 of 3

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AMERICAN DENTAL MEDICAL
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limited liability company,
Plaintiff,
V.

A. K. RUBBER PRODUCTS
COMPANY, INC., a Wisconsin
corporation,

Defendant.

 

TO TRANSFER VENUE : 1

 

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON

Case No. CV-08-0103-LRS

A. K. RUBBER PRODUCTS
COMPANY'S MOTION TO
TRANSFER VENUE

TELEPHONIC ORAL ARGUMENT
REQUESTED

Pursuant to 28 U.S.C. §1404(a) and Local Rule 7.1, Defendant A.K. Rubber
Products Company ("A.K. Rubber") hereby requests that the Court transfer this

case from its current venue, the Eastern District of Washington, to the Eastern

A.K. RUBBER PRODUCTS COMPANY’S MOTION

 
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District of Wisconsin. The Eastern District of Wisconsin is the proper venue for
this lawsuit because it is most convenient for the parties and witnesses and it is in

the best interest of justice.

Dated: November 20, 2008 Respectfully submitted,

s/ Michael A. Maurer

MICHAEL A. MAURER, WSBA No. 20230
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A. K. Rubber Products Company, Inc.

A.K. RUBBER PRODUCTS COMPANY’S MOTION
TO TRANSFER VENUE : 2

 

 
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CERTIFICATE OF SERVICE

I hereby certify that on November 20, 2008, I caused to be electronically

filed the foregoing with the Clerk of the Court using the CM/ECF System which

will send notification of such filing to the following:

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And I hereby certify that I have mailed by United States Postal Service the

document to the following non-CM/ECF participants:

n/a

s/ Michael A. Maurer

MICHAEL A. MAURER

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A.K. RUBBER PRODUCTS COMPANY’S MOTION
TO TRANSFER VENUE : 3

 
